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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131 TLN
10                                           )
                          Plaintiff,         )   STIPULATION AND ORDER CONTINUING THE
11                                           )   STATUS CONFERENCE TO A JUDGMENT AND
     vs.                                     )   SENTENCING
12                                           )
     SHANNON ARMSTRONG,                      )   Date: September 14, 2017
13                                           )   Time: 9:30 a.m.
                          Defendant.         )   Judge: Honorable Troy L. Nunley
14                                           )

15

16         The parties hereby stipulate the following:

17         1.   A Status Conference in this matter is presently set for January 26,

18   2017. Counsel for the parties request the Status Conference be continued to a

19   Judgment and Sentencing on September 14, 2017 at 9:30 a.m.      Assistant United

20   States Attorney Samuel Wong and United States Probation Officer Anthony

21   Andrews have been advised of this request and have no objection.

22         2.   Co-defendants Roberto Gomez, Jr., Leobardo Martinez-Carranza,

23   Bradley Ward, William Welch, Michael McGibbon, and Jesus Humberto Zurita-

24   Sicairos are set for Jury Trial on August 7, 2017.

25         3.   Mr. Armstrong's participation in the upcoming trial is likely.

26   Therefore, the Parties believe postponing Mr. Armstrong's sentencing is

27   appropriate.

28
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1          4. The parties request the Court adopt the following schedule

2    pertaining to the presentence report:
3              Judgment and Sentencing date:                           9/14/17
4
               Reply, or Statement of Non-Opposition:                  9/7/17
5

6              Motion for Correction of the Presentence
               Report Shall be filed with the Court and
7              served on the Probation Officer and
               opposing counsel no later than:                         8/31/17
8
               The Presentence Report shall be filed
9
               with the Court And disclosed to counsel
10             no later than:                                          8/24/17

11             Counsel’s written objections to the
               Presentence Report Shall be delivered
12             to the probation officer and opposing
               Counsel no later than:                                  8/17/17
13
               The Presentence Report shall be filed
14
               with the Court And disclosed to counsel
15
               no later than:                                          n/a

16
           IT IS SO STIPULATED.
17

18   Dated:   January 19, 2017                    /s/ John R. Manning
                                                  JOHN R. MANNING
19                                                Attorney for Defendant
                                                  Shannon Armstrong
20

21   Dated:   January 20, 2017                    Phillip A. Talbert
                                                  United States Attorney
22                                                by: /s/ Samuel Wong
                                                  SAMUEL WONG
23                                                Assistant United States Attorney

24
                                          ORDER
25
     IT IS SO FOUND AND ORDERED this 23rd day of January, 2017.
26

27

28



                                                   Troy L. Nunley
                                                   United States District Judge
